                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                           DOCKET NO. 3:13-cr-00293-MOC-DCK

 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                                                  )
 Vs.                                              )                   ORDER
                                                  )
 JASON HILL,                                      )
                                                  )
                  Defendant.                      )



        THIS MATTER is before the court on defendant’s pro se letter (#72), which appears to

seek dismissal of this action based on the findings of other judges in other districts finding

entrapment based on “stash house” sting operations. Review of the pleadings reveals that

defendant is represented by counsel who, in discussing the matter with defendant, can assess

whether such a motion is appropriate in this case. The Local Criminal Rules, however, prohibit a

represented defendant from bringing such pro se motion on his or her own.

                                             ORDER

        IT IS, THEREFORE, ORDERED that to the extent defendant seeks relief in his pro se

letter (#72), such relief is denied without prejudice. Defendant is advised NOT to send letters to

the court as such may contain or be construed to contain admissions against his legal interests,

frustrating his constitutional right to remain silent.

                                        Signed: August 11, 2014




       Case 3:13-cr-00293-MOC             Document 73     Filed 08/13/14     Page 1 of 1
